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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN

LELAND FOSTER,                                  )
                                                )
               Plaintiff,                       )   Case No. 2:17-cv-10809
v.                                              )
                                                )   Judge
ADRIAN EASTPOINT CENTER LLC, a                  )
Utah Limited Liability Company,                 )   Magistrate Judge
                                                )
               Defendant.                       )



       NOW COMES Leland Foster, individually, by and through the undersigned counsel,

Owen B. Dunn, Jr. and Valerie J. Fatica, Counsel for Plaintiff, who hereby files this Complaint

against Adrian Eastpoint Center, LLC, a Utah Limited Liability Company, for injunctive relief,

damages, attorneys’ fees, litigation expenses, and costs pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), alleging as follows:

                                 JURISDICTION AND VENUE

1.     This action is brought by the Plaintiff, Leland Foster, individually, and on behalf of

       individuals similarly situated, pursuant to the enforcement provision of the American

       with Disabilities Act of 1990 (the “ADA”), 42 U.S.C. § 12188(a), against the Defendant

       as delineated herein.

2.     The Court has jurisdiction pursuant to the following statutes: 28 U.S.C. § 1331, which

       governs actions that arise from the Defendant’s violations of Title III of the ADA, 42

       U.S.C. § 12181, et seq.; 28 U.S.C. § 1331, which gives the District Courts original

       jurisdiction over civil actions arising under the Constitution, laws, or treaties of the

       United States; 28 U.S.C. § 1343(3) and (4), which gives District Courts jurisdiction over

       actions to secure civil rights extended by the United States government; and 28 U.S.C. §
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     1367, as Count II utilizes the same core of operative facts as Count I, and is therefore

     subject to supplemental jurisdiction.

3.   Venue is proper in the Eastern District of Michigan as venue lies in the judicial district of

     the property situs. The Defendant’s property and/or operations, as complained of by

     Plaintiff, are located in this judicial district, where the business of public accommodation

     is conducted, including the acts complained of herein.

                                          PARTIES

4.   Plaintiff, Leland Foster (“Plaintiff” or “Mr. Foster”), is a Fulton County, Ohio resident, is

     sui juris, and qualifies as an individual with disability as defined by the ADA, 42 U.S.C.

     § 12102(2), 28 C.F.R. 36.104.

5.   Defendant Adrian Eastpoint Center, LLC, upon information and belief, owns the

     property located at 1671-1693 E. US-223, Adrian, MI 49221 in Lenawee County,

     Michigan, which is a shopping center known as “Eastpointe Plaza.” Plaintiff has

     patronized Defendant’s property and the facilities thereon previously as a place of public

     accommodation, and he has experienced the barriers to access complained of herein.

6.   Upon information and belief, the facility owned or operated by the Defendant is non-

     compliant with the remedial provisions of the ADA. As Defendant either owns, leases,

     leases to, or operates a place of public accommodation as defined by the ADA and the

     regulations implementing the ADA, 28 CFR 36.201(a) and 36.104, Defendant is

     responsible for complying with the obligations of the ADA. Defendant’s shopping center

     is a place of public accommodation. Defendant’s property fails to comply with the ADA

     and its regulations, as also described further herein.

7.   Mr. Foster is an individual diagnosed with cerebral palsy and permanently uses a
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     wheelchair for mobility. Plaintiff has difficulty grasping with his hands also as a result of

     his disability. As such, he is substantially limited in performing one or more major life

     activities, including but not limited to, standing and walking, as defined by the ADA and

     its regulations thereto. On September 22, 2016, January 5, 2017 and previous occasions,

     Plaintiff visited the property that forms the basis of this lawsuit and plans to return to the

     property to avail himself of the goods and services offered to the public at the property.

8.   Plaintiff is an avid adaptive sports enthusiast and participates regularly with the active

     local adaptive sports community, including hand cycle events and wheelchair tennis and

     other activities in Southeast Michigan. Through his involvement in adaptive sports he has

     established friendships throughout Michigan. Leland Foster frequents many

     establishments in the Lenawee County region and has been a customer at the shopping

     center located on the property that forms the basis of this lawsuit. During the Plaintiff’s

     visits to Defendant’s property he encountered architectural barriers at the subject property

     that violate the ADA and its regulations. The barriers to access at the property have

     endangered Plaintiff’s safety.

9.   Completely independent of the personal desire to have access to this place of public

     accommodation free of illegal barriers to access, Plaintiff also acts as a "tester" for the

     purpose of discovering, encountering, and engaging discrimination against the disabled in

     public accommodations. When acting as a "tester," Plaintiff employs a routine practice.

     Plaintiff personally visits the public accommodation; engages all of the barriers to access,

     or at least all of those that Plaintiff is able to access; and tests all of those barriers to

     access to determine whether and the extent to which they are illegal barriers to access;

     proceeds with legal action to enjoin such discrimination; and subsequently returns to the
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      premises to verify its compliance or non-compliance with the ADA and to otherwise use

      the public accommodation as members of the able-bodied community are able to do.

      Independent of other visits, Plaintiff also intends to visit the premises annually to verify

      its compliance or non-compliance with the ADA, and its maintenance of the accessible

      features of the premises. In this instance, Plaintiff, in Plaintiff’s individual capacity as

      customer and as a “tester,” visited the shopping center, encountered barriers to access at

      the shopping center, and engaged and tested those barriers, suffered legal harm and legal

      injury, and will continue to suffer such harm and injury as a result of the illegal barriers

      to access and the ADA violations set forth herein.

10.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

      Defendant’s non-compliance with the ADA with respect to this property as described but

      not necessarily limited to the allegations contained in this complaint.         Plaintiff has

      reasonable grounds to believe that he will continue to be subjected to discrimination in

      violation of the ADA by the Defendant. Plaintiff desires to visit the Defendant’s place of

      business again on future occasions, not only to avail himself of the goods and services

      available at the property but to assure himself that this property is in compliance with the

      ADA so that he and others similarly situated will have full and equal enjoyment of the

      shopping center without fear of discrimination.

11.   The Defendant has discriminated against the individual Plaintiff by denying him access to

      the full and equal enjoyment of the goods, services, facilities, privileges, advantages

      and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

12.   The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff

      in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,
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       1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

       $500,000 or less).

13.    A preliminary inspection of the shopping center owned or operated by Defendant has

       shown that many violations of the ADA exist at the subject property. These violations

       include, but are not limited to:


Accessible Routes and Parking:

           A. Defendant fails to provide accessible routes into its shopping center due to

              excessive slopes and cross slopes curb ramps, in violation of the ADA whose

              remedy is readily achievable.

           B. There is no designated accessible parking signage, in violation of the ADA whose

              remedy is readily achievable.

           C. Designated van accessible parking it not marked with compliant signage, in

              violation of the ADA whose remedy is readily achievable.

           D. Marked accessible parking access aisles are not compliant width, in violation of

              the ADA whose remedy is readily achievable.

           E. Marked accessible parking access aisles do not lead to an accessible route, in

              violation of the ADA whose remedy is readily achievable.


Fiesta Ranchera’s tenant restrooms:


           F. There are toilet compartments with missing or non-compliant grab bars, in

              violation of the ADA whose remedy is readily achievable.

           G. There are amenities mounted in excess of allowable reach range, in violation of

              the ADA whose remedy is readily achievable.
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           H. There are urinals mounted at non-compliant heights, in violation of the ADA

              whose remedy is readily achievable.

           I. The flush control is not located on the open side of the water closet, in violation

              of the ADA whose remedy is readily achievable.

           J. The coat hook located in the designated accessible toilet compartment is mounted

              in excess of allowable reach range, in violation of the ADA whose remedy is

              readily achievable.

           K. Accessible toilet compartment doors are not equipped with door pulls on both

              sides, in violation of the ADA whose remedy is readily achievable.

           L. Accessible toilet compartment doors are not self-closing, in violation of the ADA

              whose remedy is readily achievable.

           M. The restroom signage is not properly mounted and is otherwise non-compliant, in

              violation of the ADA regulations whose remedy is readily achievable.


Policies and Procedures:

           N. The Defendant lacks or has inadequate defined policies and procedures for the

              assistance of disabled patrons, in violation of the ADA whose remedy is readily

              achievable.


14.    The discriminatory violations described in Paragraph 13 by the Defendant are not an

       exclusive list of the ADA violations believed to exist at the place of public

       accommodation. Plaintiff requires further inspection of the Defendant’s place of public

       accommodation in order to photograph and measure all of the discriminatory acts

       violating the ADA and all of the barriers to access. The Plaintiff, has been denied access
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      to Defendant’s accommodations; benefit of services; activities; and has otherwise been

      discriminated against and damaged by the Defendant, as set forth above. The individual

      Plaintiff, and all others similarly situated will continue to suffer such discrimination,

      injury and damage without the immediate relief provided by the ADA as requested

      herein.   In order to remedy this discriminatory situation, the Plaintiff requires an

      inspection of the Defendant’s place of public accommodation in order to determine all of

      the areas of non-compliance with the Americans with Disabilities Act.

                              COUNT I
           VIOLATION OF THE AMERICANS WITH DISABILITES ACT

15.   Plaintiff restates the allegations of ¶¶1-14 as if fully rewritten here.

16.   The shopping center at issue, as owned or operated by Defendant, is a place of public

      accommodation and service establishment, and as such, must be, but is not, in

      compliance with the Americans with Disabilities Act ("ADA") or Americans with

      Disabilities Act Accessibility Guidelines ("ADAAG").

17.   Plaintiff was unlawfully denied full and equal enjoyment of the goods, services, facilities,

      privileges, and advantages of the property on the basis of disability due to Defendant’s

      failure to comply with Title III of the Americans with Disabilities Act and its

      accompanying regulations, as prohibited by 42 U.S.C. § 12182, et seq. Defendant will

      continue to discriminate against Plaintiff and others with disabilities unless and until

      Defendant is compelled to remove all physical barriers that exist at the facilities,

      including those specifically set forth herein, and make the shopping center accessible to

      and usable by persons with disabilities, including Plaintiff.

18.   The Plaintiff, and others similarly-situated, is presently without adequate remedy at law

      and is being damaged by irreparable harm. Plaintiff reasonably anticipates that he will
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      continue to suffer irreparable harm unless and until Defendant is required to remove the

      physical barriers, dangerous conditions, and ADA violations that exist at the Facility,

      including those set forth herein.

19.   Pursuant to 42 U.S.C. §12187, Plaintiff requests that the Court issue an injunction

      requiring Defendant to make such readily achievable alterations as are legally required to

      provide full and equal enjoyment of the goods, services, facilities, privileges, and

      advantages on its property to disabled persons. In connection with that relief, Plaintiff

      requests reasonable attorney’s fees and costs of maintaining this action.

                             COUNT II
 VIOLATION OF MICHIGAN PERSONS WITH DISABILITIES CIVIL RIGHTS ACT
                        M.C.L. § 37.1301 et seq.

20.   Plaintiff restates the allegations of ¶¶1 - 1 9 as if fully rewritten here.

21.   Eastpointe Plaza, a shopping center, is a "place of public accommodation" pursuant to

      M.C.L §37.1301(a).

22.   Defendant committed an unlawful act pursuant to M.C.L §37.1302(a) by denying

      Plaintiff full enjoyment of its goods, services, accommodations, advantages, facilities, or

      privileges by failing to provide equal access to people with mobility impairments.

23.   Pursuant to M.C.L §37.1606, Plaintiff is entitled to compensatory and exemplary

      damages, and attorneys’ fees and costs, in an amount to be determined at trial, but in any

      event not less than $25,000.00, as well as issuance of an injunction requiring Defendant

      to allow full and equal enjoyment of its goods, services, facilities, privileges, and

      advantages to disabled persons.

WHEREFORE, Plaintiff demands,

      For COUNT I, an injunction requiring Defendant to make all readily achievable
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    alterations and institute policies and procedures to allow full and equal enjoyment of the

    goods, services, facilities, privileges, and advantages to disabled persons, and the

    reasonable attorneys fees and costs of maintaining this action; and,

    For COUNT II, compensatory and punitive damages, attorney’s fees and costs, in an

    amount to be determined at trial, but in any event not less than $25,000.00, as well as

    issuance of an injunction requiring Defendant to allow full and equal enjoyment of the

    goods, services, facilities, privileges, and advantages to disabled persons.




                                          Respectfully Submitted,

                                          Counsel for Plaintiff:

                                          /s/ Owen B Dunn Jr.
                                          Owen B. Dunn, Jr., Esq. (p66315)
                                          Law Office of Owen B. Dunn, Jr.
                                          The Ottawa Hills Shopping Center
                                          4334 W. Central Ave., Suite 222
                                          Toledo, OH 43615
                                          (419) 241-9661 – Phone
                                          (419) 241-9737 - Facsimile
                                          dunnlawoffice@sbcglobal.net

                                          and

                                          Valerie J. Fatica (0083812)
                                          The Ottawa Hills Shopping Center
                                          4334 W. Central Ave., Suite 222
                                          Toledo, OH 43615
                                          (419) 241-9661 – Phone
                                          (419) 241-9737 - Facsimile
                                          Email: valeriefatica@gmail.com
                                          *Admitted to the Eastern District of Michigan
